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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION                         MDL No. 2804
OPIATE LITIGATION
                                                    Case No. 17-md-2804
This document relates to:
                                                    Hon. Dan Aaron Polster
The County of Summit, Ohio, et al. v. Purdue
Pharma L.P., et al., Case No. 18-OP-45090

The County of Cuyahoga v. Purdue Pharma
L.P., Case No. 17-OP-45004

City of Cleveland v. AmerisourceBergen Drug
Corp., Case No. 18-OP-45132



     EMERGENCY MOTION TO ENJOIN THE MASSACHUSETTS ATTORNEY
     GENERAL’S OFFICE FROM VIOLATING THE MDL PROTECTIVE ORDER

       Defendants Purdue Pharma L.P., Purdue Pharma Inc., and The Purdue Frederick

Company (“Purdue”) move this Court on an emergency basis for an Order enjoining the

Massachusetts Attorney General’s office from violating the terms of the protective order entered

in this case [Doc. #: 441] on May 15, 2018 (the “MDL Protective Order”). This Court should

immediately consider this emergency motion because Purdue faces an imminent risk of

irreparable harm (potentially as early as this Friday, December 21) if the Massachusetts

Attorney General discloses in a Massachusetts proceeding Purdue’s confidential information

made available pursuant to the terms of the MDL Protective Order.

                               PRELIMINARY STATEMENT

       Immediate intervention of this Court is required to prevent the irreparable and prejudicial

release of information derived from confidential Purdue documents. The Massachusetts

Attorney General’s office (also referred to as “the Commonwealth”) has obtained documents
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produced by Purdue in this proceeding and designated as “Confidential” and “Highly

Confidential” in exchange for its agreement to be bound by the MDL Protective Order. The

Massachusetts Attorney General’s office is now seeking to bypass the carefully orchestrated

procedures in the MDL Protective Order by utilizing confidential Purdue documents in an

inflammatory and highly prejudicial Amended Complaint in has said it intends to file in

Massachusetts without following the procedures applicable to challenges to confidentiality

designations established by this Court. The Massachusetts Attorney General’s insistence on

using extensive inflammatory, out of context and wholly unnecessary quotes from these

documents in its Amended Complaint is a transparent publicity stunt and transparently designed

to create a media event to the detriment of Purdue’s legitimate confidentiality interest in the

underlying documents. The Commonwealth’s true motivations are demonstrated by the fact that

this Amended Complaint, spans almost 300 pages and contains nearly 800 potentially

confidential references drawn from hundreds of internal Purdue documents produced in this

MDL and designated as Confidential and Highly Confidential, most of which are directed at the

individual defendants.1

         In order to prevent permanent harm, Purdue requests that the Massachusetts Attorney

General’s office be required to abide by the MDL Protective Order and be prevented from filing

a public complaint disclosing the contents of documents the parties have in good faith agreed to

keep confidential. Purdue is committed to working cooperatively with the Attorney General’s

office on a reasonable time frame to determine whether confidentiality designations for MDL-




1
 Purdue is willing to make the unredacted version of the Commonwealth’s Amended Complaint provided to its
counsel available to the Court for in camera inspection so that the Court can see for itself the improper and
unnecessary manner in which Purdue’s documents are used.


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produced documents can be resolved. If Purdue is unable to do so, it requests the opportunity to

bring any remaining issues to this Court for resolution.

                                  FACTUAL BACKGROUND

       The MDL Protective Order

       On May 15, 2015, this Court entered the MDL Protective Order setting forth procedures

to govern “confidential, proprietary, and/or private information for which special protection from

public disclosure and from use for any purpose other than prosecuting this litigation would be

warranted.” [Doc #: 441, ¶ 1.] The MDL Protective Order contains a provision permitting the

sharing of information with “Counsel for claimants in litigation pending outside this Litigation

and arising from one or more Defendants’ manufacture, marketing, sale, or distribution of opioid

products.” MDL Protective Order at ¶ 33(l). That provision goes on to provide that “any such

recipient of documents or information produced under this Order shall submit to the jurisdiction

of this Court for any violations of this Order.” Id. This provision was adopted to foster the

sharing of information and to bring discovery efficiencies to this very large and complex

multijurisdictional litigation. With this ability to obtain MDL documents outside of the usual

course of discovery comes the absolute obligation of the receiving party to abide by the terms of

the MDL Protective Order. This includes the requirement to maintain in confidence materials

designated as “Confidential” and “Highly Confidential” and, should one wish to challenge

confidentiality designations, follow the procedures set forth in paragraph 52 of the MDL

Protective Order. This paragraph provides that “if the Receiving Party believes that portion(s)

of a document are not properly designated as Confidential Information or Highly Confidential

Information, the Receiving Party will identify the specific information that it believes is

improperly designated and notify the Producing Party . . . of its good faith belief that the




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confidentiality designation was not proper.” The Producing Party then has a week to consider

the request and explain the basis for the designation and, if the Receiving Party wishes to press

its challenge, it has another week to initiate the procedure for commencing a discovery dispute in

this Court and the matter is then submitted for a ruling. As this Court is aware, that process has

been utilized effectively on numerous occasions in these proceedings and parties have engaged

cooperatively in extensive meet and confer discussions to resolve confidentiality issues.

         The MDL Protective Order further provides at ¶ 81 “In the event anyone shall violate or

threaten to violate the terms of this Protective Order, the Producing Party may immediately apply

to obtain injunctive relief against any person violating or threatening to violate any of the terms

of this Protective.”

         Massachusetts Attorney General’s Office’s Acknowledgement and Agreement to be
         Bound by the MDL Protective Order

         On November 29, 2018, Purdue received “Notice of Discovery Sharing per CMO 2 -

MDL 2804” from Plaintiffs’ Liaison Counsel, Peter H. Weinberger of Spangenberg Shibley &

Liber LLP indicating that the Massachusetts Attorney General’s Office had “been provided

access to the Purdue’s MDL discovery responses and have executed the Acknowledgment and

Agreement to be bound by the Protective Order.” See E-Mail from Peter Weinberger annexed

hereto as Exhibit A. The Acknowledgment and Agreement to be bound by the Protective Order2

indicates that the signatory is “bound by all the terms of the Protective Order” and “submit[s] to

the jurisdiction of the United States District Court for the Northern District of Ohio for the

purposes of enforcing terms of the Protective Order.” See MDL Protective Order

Acknowledgment And Agreement To Be Bound By Protective Order.


2
 Purdue was not provided with the Acknowledgement form signed by Ms. Feiner and does not know the precise
date on which it was signed. However, given the obligation to provide information as to signatories to the MDL
Protective Order on a monthly basis, it would have been signed some time in November 2018.


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         The Massachusetts Proceeding

         In June 2018, the Massachusetts Attorney General’s office brought an action entitled

Commonwealth of Massachusetts v. Purdue, et als in Superior Court in the County of Suffolk,

C.A. No. 1884-cv-01808 (BLS2) (the “MA Action”), against Purdue and certain individual

current and former officers and directors of Purdue. Purdue and the individual defendants

moved to dismiss the action on September 7, 2018.

         Although discovery has not yet commenced in earnest in the MA Action, the parties in

that case entered into a protective order to govern confidential information provided in that

action (the “MA Action Protective Order,” annexed hereto as Exhibit B). Paragraph 5 of that

order states: “To the extent that a Producing Party produces discovery materials in this action

that were designated as ‘Confidential’ or ‘Highly Confidential’ in In re National Prescription

Opiate Litigation, Case No. 17-MD-2804 (N.D. Ohio) or the Commonwealth obtains such

materials pursuant to ¶ 33(1) of Case Management Order No. 2: Protective Order (Docket No.

441) therein, those discovery materials are deemed ‘Confidential’ or ‘Highly Confidential’ under

this Order and shall be governed by this Order.” Notably, the MA Action Protective Order

expressly does not alter the “Confidential” or “Highly Confidential” designation of the specific

documents or the obligations of parties to abide by their separate obligations of the MDL

Protective Order. Thus, the intent of that provision was simply to establish that the same

confidentiality designations applicable to the documents as produced in the MDL would apply in

the MA Action and that if such documents were to be used in the MA Action, they would be

subject to impoundment3 under the provisions of Massachusetts law and the MA Action



3
  “Impoundment” in Massachusetts is governed by the Uniform Rules on Impoundment Procedure. Pursuant to
those rules: “Impoundment shall mean the act of keeping some or all of the case record separate and unavailable for
public inspection.”


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Protective Order. Nowhere in the MA Action Protective Order is there any reference to an

agreement by Purdue that the terms of that protective order in any way overrides the obligations

of parties that receive documents and expressly agree to be bound under the MDL Protective

Order.

         Rather than respond to the motions to dismiss (which the Commonwealth was required to

do by December 7, 2018), on November 20, 2018, the Commonwealth informed counsel for

Purdue and the individual defendants that it planned to file an amended complaint. At the same

time, Ms. Feiner informed defense counsel by email that “[b]ecause the Amended Complaint

will contain material that Defendants have designated Confidential and/or Highly Confidential

under the Protective Order, we plan to file a motion early next week to allow for it to be

impounded.” See November 20, 2018 E-Mail from Ms. Feiner annexed hereto as Exhibit C. On

December 3, 2018, the parties filed an assented-to motion to impound informing the judge

presiding over the MA Action, Justice Janet L. Sanders, that

         The Commonwealth anticipates filing an Amended Complaint on December 7.
         The Commonwealth has informed Defendants that new allegations in the
         Amended Complaint contain information the Defendants have designated
         Confidential or Highly Confidential pursuant to this Court’s October 22, 2018
         Protective Order and/or Protective Orders in other proceedings. Although
         Defendants have not yet seen the Amended Complaint, the Officer Defendants
         understand that the new allegations in the Amended Complaint include highly
         sensitive personal financial information of the Officer Defendants, and Purdue
         understands that the Amended Complaint refers to and/or quotes from documents
         that Purdue has produced to the Commonwealth and designated Confidential or
         Highly Confidential.

See Motion to Impound filed in the MA Action, annexed hereto as Exhibit D at ¶ 1.

         As the motion to impound makes clear, at the time it was filed, Purdue was not aware of

the specific confidential information at issue or that the source of that information was




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documents produced in this proceeding.4 In fact, when Purdue’s counsel asked for further

information as to the nature of the confidential information, the Commonwealth declined to

provide it. Had it been revealed that the information at issue was derived from MDL

productions, the parties could have immediately begun the process of meeting and conferring

consistent with the MDL Protective Order to discuss the confidentiality designations and use of

confidential documents.

         Justice Sanders set a hearing on the motion to impound for December 13, 2018. At the

start of the hearing, the Commonwealth provided both redacted and unredacted copies of its

nearly 300-page Amended Complaint to Purdue’s counsel for the first time.5 With such short

notice, defense counsel did not have an opportunity to review the Commonwealth’s Amended

Complaint prior to the hearing. At the hearing, the Commonwealth sought not only to file an

impounded unredacted version of the Complaint, it also asked for leave to file a heavily redacted

version of the Amended Complaint on the public docket. Rather than adopt the

Commonwealth’s suggested procedure, the court ordered the parties to meet and confer on the

proposed redactions, with the Commonwealth to file its redacted Amended Complaint by

Thursday, December 20, and required that any party seeking to have portions of the Amended

Complaint redacted file a motion in advance of a hearing to be held on December 21 at 9:30 a.m.

         Confidential Purdue documents cited in the Amended Complaint bear Bates numbers

clearly indicating that they came from productions Purdue made to plaintiffs in the MDL, and

that could have been obtained by the Commonwealth only pursuant to the provisions of MDL



4
  In fact, the motion to impound references Purdue’s understanding that “the Amended Complaint refers to and/or
quotes from documents that Purdue has produced to the Commonwealth and designated Confidential or Highly
Confidential.” See Ex. D. There is no mention that the materials at issue were actually those obtained by the
Commonwealth from MDL plaintiffs.
5
  To illustrate the breadth of the new material included in the Commonwealth’s Amended Complaint, the initial
Complaint was just 77 pages while the Amended Complaint spans 274.


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Protective Order ¶ 33(l).6 Upon reviewing the not-yet-filed unredacted Amended Complaint, it

became apparent that the Commonwealth used a cherry-picked selection of Purdue’s

Confidential and Highly Confidential documents to bolster a series of inflammatory and

misleading allegations against Purdue and its current and former directors and officers. The

Commonwealth even went as far as to identify and name as a party a former Purdue employee

who happens to be a current resident of Massachusetts. The unredacted Amended Complaint,

which spans almost 300 pages and contains nearly 800 potentially confidential references

drawn from hundreds of internal Purdue documents produced in this MDL and designated as

Confidential and Highly Confidential, goes far beyond the information typically required in a

pleading and unnecessarily quotes heavily from Confidential and Highly Confidential Purdue

documents, in what is unquestionably a concerted effort by the Commonwealth to use

confidential documents to embarrass Purdue and its officers, directors and employees.

         Unsuccessful Efforts to Meet and Confer

         On December 17, after Purdue’s counsel had an opportunity to review the Amended

Complaint and begin the process of reviewing the hundreds of confidential Purdue documents

cited, counsel for Purdue contacted the Attorney General’s Office and informed them of

Purdue’s position that documents produced in the MDL remain subject to the MDL Protective

Order and can be disclosed only pursuant to the provisions of that protective order. Counsel in

the Attorney General’s Office took the position that the MA Action Protective Order overrides

the MDL Protective Order. On December 18, 2018, Purdue’s counsel followed up with an email

reiterating Purdue’s position that the terms of the MDL Protective Order bind the use of




6
  The Commonwealth has also received significant productions of documents from Purdue in connection with
investigative subpoenas served by the Commonwealth on Purdue. These documents are not at issue here.


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documents obtained pursuant to that order. See December 18, 2018 E-Mail from Timothy Blank

annexed hereto as Exhibit E.

       On December 18, Purdue’s counsel spoke with representatives of the Massachusetts

Attorney General’s office and were unable to resolve issue. The Commonwealth took the

position that that they are no longer bound by the MDL Protective Order (despite the fact their

representative later signed the Acknowledgement to be bound by that order) because of their

interpretation of a single provision in the MA Action Protective Order. They also declined to

even consider revising the Amended Complaint to remove unnecessary references to confidential

MDL documents. During the call, the parties also discussed the possibility of seeking to adjourn

the December 21 hearing on the motion to impound to give the parties additional time to meet

and confer on the issue and address the confidentiality designations of specific documents, but

the Attorney General’s office ultimately refused to agree to seek an adjournment. Counsel for

Purdue therefore made clear that in light of the Commonwealth’s insistence in moving ahead,

intervention by this Court would be necessary.

       Purdue has made diligent efforts to resolve this issue in calls and communications, but

now has no choice but to seek immediate court intervention to prevent what Purdue believes is a

clear violation of the MDL Protective Order. Expedited consideration by this Court is critical

given the December 21 hearing on the motion to impound.

                                         ARGUMENT

                   THE COURT SHOULD IMMEDIATELY ENJOIN
                   THE MASSACHUSETTS ATTORNEY GENERAL
                 FROM VIOLATING THE MDL PROTECTIVE ORDER

       The MDL Protective Order permits the sharing of information with “Counsel for

claimants in litigation pending outside this Litigation and arising from one or more Defendants’




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manufacture, marketing, sale, or distribution of opioid products.” MDL Protective Order at ¶

33(l). This provision was adopted to foster collaboration and to bring discovery efficiencies to

this very large and complex multijurisdictional litigation. With this ability to obtain MDL

documents outside of the usual course of discovery comes the absolute obligation of the

receiving party to abide by the terms of the MDL Protective Order. This includes the

requirement to maintain in confidence materials designated as “Confidential” and “Highly

Confidential” and, should one wish to challenge confidentiality designations, follow the

procedures set forth in paragraph 52 of the MDL Protective Order. If it were to use confidential

Purdue information in its Amended Complaint without providing Purdue with an opportunity to

meet and confer to discuss the confidentiality designations for the documents at issue, the

Massachusetts Attorney General’s Office will be in direct violation of the clear terms of the

MDL Protective Order.

       This Court takes agreements to be bound by protective orders seriously and breaches of a

protective order have not been tolerated. Champion Foodservice, LLC v. Vista Food Exch., Inc.,

No. 1:13-CV-1195, 2014 WL 12590104, at *1 (N.D. Ohio June 10, 2014), report and

recommendation adopted, No. 1:13 CV 1195, 2014 WL 12590109 (N.D. Ohio June 25, 2014)

(“The parties should be assured that the Special Master will not tolerate any such breaches of the

protective order, and likewise expects that the Court will not.”). There is no reason for this Court

to deviate from its practice of safeguarding protected information here.

       The parties in the MDL and elsewhere have worked cooperatively to implement

procedures, such as ¶ 33(l) of the MDL Protective Order, to foster the sharing of information in a

controlled manner and the Commonwealth’s position contravenes the spirit and intent of the

state/federal coordination procedure established in the MDL. The parties have made a good faith




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effort to allow access to MDL documents by litigants outside the MDL, provided that the same

MDL Protective Order applies. The Commonwealth’s position that it is unilaterally no longer

bound by the MDL Protective Order and its attempt to use confidential MDL documents directly

contravenes the cooperative process that allowed the Commonwealth to gain access to these

materials outside of formal discovery in the first place. These same MDL documents have been

shared with many other state court plaintiffs and these plaintiffs cannot be allowed to simply

disregard the terms of the MDL Protective Order to which they agreed to comply simply because

a separate state court protective order that may need to take into account relevant state laws and

procedures is in place. To allow plaintiffs such as the Commonwealth here to completely

disregard the MDL Protective Order in this way would render the MDL Protective Order a

nullity, and result in the release of millions of Purdue’s confidential documents into the public

domain without any protection—surely a result that this Court and Purdue did not intend.

       Even worse, the Commonwealth is seeking to bypass its obligation under the MDL

Protective Order to use documents obtained through this proceeding for a wholly unnecessary

and improper purpose. Protective orders are intended to prevent exactly this type of improper

and prejudicial cherry-picked use of confidential documents to put information in the public

domain (thus creating a media event) before the full factual record has been developed. If this

tactic is allowed, all of the efforts to protect confidential information exchanged in this

proceeding will be for naught.

       Though its meet and confer discussions, the Commonwealth asserted that Purdue

somehow agreed to release its obligation to abide by the MDL Protective Order in consenting to

the form of the MA Action Protective Order which provides: “To the extent that a Producing

Party produces discovery materials in this action that were designated as ‘Confidential’ or




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‘Highly Confidential’ in In re National Prescription Opiate Litigation, Case No. 17-MD-2804

(N.D. Ohio) or the Commonwealth obtains such materials pursuant to ¶ 33(1) of Case

Management Order No. 2: Protective Order (Docket No. 441) therein, those discovery materials

are deemed ‘Confidential’ or ‘Highly Confidential’ under this Order and shall be governed by

this Order.” However, nothing in the protective order in the MA Action provides that the MDL

Protective Order ceases to apply to documents obtained as part of that proceeding. As explained

above, the provision of paragraph 5 was intended to confirm that documents identified as

Confidential and Highly Confidential in the MDL would also carry that same designation in the

MA Action, and that to the extent such documents were used in that case, the impoundment

procedures of the MA Action were required to be followed. Moreover, at the time the MA

Action Protective Order was negotiated and submitted to the Court, Ms. Feiner had not yet been

given access to the MDL documents nor signed on to the MDL Protective Order. Thus, nothing

in the MA Action Protective Order could have obviated her later obligations as a signatory to the

MDL Protective Order.

       Accordingly, Purdue respectfully requests that the Massachusetts Attorney General be

required to abide by the MDL Protective Order and be enjoined from filing a public complaint

disclosing the contents of documents the parties have in good faith agreed to keep confidential

without following the procedure applicable to challenges to confidentiality designations of MDL

documents. Purdue has served a copy this motion on the Massachusetts Attorney General’s

office and is committed to working cooperatively via the procedures set out in Paragraph 52 of

the MDL Protective Order to determine whether confidentiality designations for MDL-produced

documents can be resolved in accordance with the provisions of this Court’s Protective Order. If

there are issues the parties are not able to resolve, they can then be brought to this Court for




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resolution. Once that process is complete, the impoundment procedure in Massachusetts can

proceed with guidance from this Court—the court whose order governs the use of the

confidential documents at issue.

                                       CONCLUSION

       For the foregoing reasons, Purdue asks this Court to issue an immediate order enjoining

the Massachusetts Attorney General’s office from violating the terms of the MDL Protective

Order and ordering that it may not disclose information from documents obtained via the MDL

without following the provisions of the MDL Protective Order.



Dated: December 19, 2018

                                            /s/ Mark S. Cheffo
                                            Sheila L. Birnbaum
                                            Mark S. Cheffo
                                            Hayden A. Coleman
                                            DECHERT
                                            Three Bryant Park
                                            1095 Avenue of the Americas
                                            New York, NY
                                            Telephone: (212) 698-3500
                                            Fax: (212) 698-3599
                                            sheila.birnbaum@dechert.com
                                            mark.cheffo@dechert.com
                                            hayden.colemen@dechert.com

                                            Counsel for Defendants Purdue Pharma L.P.,
                                            Purdue Pharma Inc., and The Purdue Frederick
                                            Company




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